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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )       No. 10 CR 195
                                               )       Judge Amy J. St. Eve
BRIAN HOLLNAGEL and                            )
BRIAN OLDS                                     )

                                      PROTECTIVE ORDER

       Upon the agreement of counsel for the government and counsel for defendants BRIAN

HOLLNAGEL and BRIAN OLDS, it is hereby ORDERED as follows:

       1.      All materials produced by the United States in preparation for or in connection with

any stage of the proceedings in this case, including but not limited to grand jury transcripts, agency

reports, witness statements, memoranda of interview, and any documents or tangible objects

(collectively, “the materials”), remain the property of the United States. Upon conclusion of the

trial of this case and any direct appeals of this case or upon the earlier resolution of the charges

against defendant, all of the materials and all copies made thereof must be destroyed or maintained

under secure conditions by defense counsel, unless there is a specific request by the government for

the return of particular materials.

       2.      All of the materials produced by the United States may be utilized by defendants,

defendants’ counsel, and employees and agents of defendants’ counsel solely in connection with

the defense of this case and for no other purpose.

       3.      Defendants’ counsel and defendant shall not disclose the materials directly or

indirectly to any other person except persons employed by or agents working with defense counsel

to assist in the defense, persons who are interviewed as potential witnesses, persons who are

consulted as potential and/or retained experts during the course of the litigation of this case, and/or

such other persons to whom the Court may authorize disclosure (collectively “authorized persons”).

       4.      The materials produced by the United States shall not be copied or reproduced by

defense counsel or defendant either directly or indirectly unless they are copied for use by
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authorized persons to assist in the defense, and in that event, such copies and reproductions must be

treated in the same manner as the original matter.

       5.       Before providing the materials to an authorized person, defendants’ counsel must

provide the authorized person with a copy of this Order and require the authorized person to sign

a statement that represents that the authorized person has received a copy of and reviewed this Order

and has agreed to be bound by its terms and conditions subject to sanctioning by the Court for any

violations of this Order. Defense counsel shall maintain a copy of the signed statement of each

authorized person for a period of twelve months after the later of: (a) the trial or other resolution of

this case; and (b) any direct appeal. Defense counsel shall make the signed statements of each

authorized person available to the government as required by the Federal Rules of Criminal

Procedure, the local criminal rules of the Northern District of Illinois and/or Court order.

       6.       The restrictions set forth in this Order do not apply to the United States, documents

that are (or become) public record, or documents or information obtained by either defendant from

a source other than the materials produced by the United States.

       7.       This Order may be modified by the agreement of the parties with permission of the

Court or by further Order of the Court.

       8.       Each party reserves all other rights relating to discovery and the production of

documents, including the right to petition the Court to construe, modify, or enforce this Order.



                                               ENTER:


                                               _______________________________
                                               Amy J. St. Eve
                                               United States District Judge


Dated: April 9, 2010




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